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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


United States of America,                              CR 07-161 JNE/FLN

             Plaintiff,

      v.                                               ORDER

01 - Ismael Ramirez-Cortez,
02 - Gerardo Ramos,
04 - Aaron Clayton Durand,
06 - Anthony Thomas Hernandez,

             Defendants.
             ________________________________________________

      Based upon the Findings of Fact, Conclusions of Law, and Recommendation by

United States Magistrate Judge Franklin L. Noel dated November 15, 2007, all the files

and records, and no objections having been filed to said Report and Recommendation,

      IT IS HEREBY ORDERED that Defendants’ Motions be GRANTED in part and

DENIED in part as follows:

1.    Defendant Ramirez-Cortez’s Motion for Suppression of Evidence from Electronic

      Surveillance [#52], Defendant Ramirez-Cortez’s Motions to Suppress Evidence

      from Search and Seizure [##53, 149], Defendant Ramirez-Cortez’s Motion to

      Suppress Evidence from Eyewitness Identification [#150], Defendant Ramos’

      Motion to Suppress Evidence from Electronic Surveillance [#35], Defendant

      Durand’s Motion to Suppress Evidence Derived from Electronic Surveillance

      [#136], Defendant Hernandez’s Motion to Quash Arrest and to Suppress Evidence

      Illegally Seized [#114], Defendant Hernandez’s Motion to Suppress Evidence
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      Derived from Electronic Surveillance [#115], Defendant Hernandez’s Motion to

      Suppress Evidence Obtained in Violation of the Fourth Amendment [#116] and

      Defendant Hernandez’s Motion to Dismiss Indictment on Grounds of Insufficient

      Allegations [#120] are DENIED.

2.    Defendant Hernandez’s Motion to Suppress Confessions and Statements in the

      Nature of Confessions [#117] is GRANTED in so far as it seeks the suppression of

      the statements he made to Officer Freichels after his indictment and DENIED in all

      other respects.

3.    Defendant Ramos’ Motion to Suppress Statements, Admissions, and Answers

      [#58] and Defendant Durand’s Motion to Suppress Statements [#138] were

      WITHDRAWN based upon representations made at the hearing on this matter.


DATED: January 7, 2008.          s/ Joan N. Ericksen
at Minneapolis, Minnesota                JUDGE JOAN N. ERICKSEN
                                        United States District Court
